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                               UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF INDIANA
                                INDIANAPOLIS DIVISION

 DENNIS TOOLEY,                            )
 an individual,                            )
                                           )
               Plaintiff,                  )
                                           )
        vs.                                ) CAUSE NO. 1:17-cv-00781-LSA-DML
                                           )
 WOODROW J. LANE TRUST,                    )
 an Indiana Trust,                         )
                                           )
 and                                       )
                                           )
 BETTY L. LANE TRUST,                      )
 an Indiana Trust,                         )
                                           )
               Defendants.                 )
 _________________________________________ )

                                 JOINT NOTICE OF SETTLEMENT

        PLEASE TAKE NOTICE that the parties to this action have reached an agreement

 regarding all material issues in this case. The parties are currently in the process of obtaining

 client signatures and hope to file a joint stipulation for dismissal within ten (10) days. The

 parties further request that the Court adjourn all upcoming conferences and deadlines while they

 finalize their agreement.

 Respectfully submitted,


 /s/ Louis I. Mussman                               /s/ Anthony S. Ridolfo
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 Counsel for Plaintiff
 Dennis Tooley


                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on this 12th day of December, 2017, I electronically filed the

 foregoing with the Clerk of Court using the CM/ECF system which will send notification of

 filing to the following:

 Anthony S. Ridolfo, Esq.
 Hackman Hulett LLP
 135 N. Pennsylvania Street, Suite 1610
 Indianapolis, IN 46204


                                          By: /s/ Louis I. Mussman
                                             Louis I. Mussman




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